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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No. 04-80370

v.
                                                            Hon. John Corbett O’Meara
D-1    ALI ABDUL KARIM FARHAT, et al.,

            Defendants.
______________________________________/

                 ORDER DENYING MOTIONS FOR SEPARATE TRIALS

       Before the court are six motions for separate trials, filed by D-7, Abdul Halim Berro; D-

13, Amira Ali Farhat; D-15, Houda Mohamad Berro; D-16, Lina Reda; D-17, Almire Ali-Sadek

Berro; and D-18, Nassib Saadallah Berro. The government submitted a combined response to

five of the motions on February 28, 2006, and a response to Nassib Berro’s motion on March 24,

2006. The court heard oral argument on March 30, 2006, and took the matter under advisement.

On April 4, 2006, the government submitted a revised notice of its election to proceed with three

separate trials of the eighteen defendants in this case. D-7, Abdul Halim Berro, submitted

objections to the government’s proposed trial groups; D-15, Houda Mohamad Berro, and D-18,

Nassib Saadallah Berro, joined in those objections.

       All of the defendants who seek separate trials (except Houda Berro) assert that they were

improperly joined with the other defendants and that severance is required. All these defendants

also argue that discretionary severance is appropriate under Fed. R. Crim. P. 14.

        Rule 8(b) of the Federal Rules of Criminal Procedure permits the government to charge

two or more defendants in an indictment “if they are alleged to have participated in the same act
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or transaction, or in the same series of acts or transactions constituting an offense or offenses.”

For the purposes of joinder under Rule 8(b), “a group of acts or transactions constitute a ‘series’

if they are logically interrelated.” United States v. Johnson, 763 F.2d 773, 776 (6th Cir. 1985).

“A group of acts or transactions is logically interrelated, for instance, if the acts or transactions

are part of a common scheme or plan.” Id.

       Defendants argue that the offenses with which they have been charged are unrelated to

those of the other defendants and that, therefore, they have been improperly joined. The

government contends that all of the counts in the indictment relate to and flow from the core

scheme set forth in the introduction to the indictment and in Count 1, which charges a conspiracy

to violate the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. § 1962.

According to the government, “the connecting link between all of the defendants is their

participation in this overarching scheme to defraud creditors, mortgage lenders and bankruptcy

trustees” through and with the members of the RICO enterprise.

       For example, D-7, Abdul Halim Berro, is charged with bank fraud and bankruptcy fraud.

The government alleges that he used credit cards at D-2, Abdulamir Berro’s business, BDI,

knowing no payment would be made for his transactions. Abdul Halim Berro allegedly charged

thousands of dollars at BDI and other establishments and submitted insufficient funds checks to

the credit card companies. The government alleges that to evade collection and defraud

creditors, Abdul Halim Berro declared bankruptcy to discharge approximately $325,000 in credit

card debt. Further, Abdul Halim Berro allegedly obtained a home in the name of D-15, Houda

Mohamad Berro (who misrepresented her income and employment on a mortgage application) to

conceal his assets. Thus, Abdul Halim Berro has been charged with crimes related to the overall


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scheme of defrauding banks, credit card companies, and mortgage lenders by using charge cards

at BDI and Sigma, failing to pay the charges, declaring bankruptcy, and concealing assets.

       The government has lodged similar charges against D-18, Nassib Saadallah Berro – that

he racked up thousands of dollars in credit card debt without intention of paying and then

declared bankruptcy to avoid his creditors. The government alleges that Berro was assisted by

D-1, Ali Farhat; D-2, Abdulamir Berro; and D-12, Sadek Berro; who are charged in the RICO

conspiracy count.

       The remaining Defendants who seek severance (D-13, Amira Ali Farhat; D-15, Houda

Mohamad Berro; D-16, Lina Reda; and D-17, Almire Ali-Sadek Berro) are wives or adult

children of other defendants. These Defendants are charged with assisting other defendants in

concealing their assets. The concealment of assets, according to the government, was essential

to Defendants’ scheme to defraud creditors.

       The court concludes that Defendants are properly joined because the transactions alleged

are “part of a common scheme or plan.” Johnson, 763 F.2d at 776. The RICO conspiracy serves

as the link to all the other counts in the indictment. “[W]here, as here, a single RICO count

embrace[s] all of the acts and transactions upon which the other . . . counts [are] based,” joinder

under Rule 8(b) is proper. United States v. Boylan, 898 F.2d 230, 245 (1st Cir.), cert. denied, 498

U.S. 849 (1990). See also United States v. Qaoud, 777 F.2d 1105, 1118 (6th Cir. 1985), cert.

denied, 475 U.S. 1098 (1986) (joinder of false declaration charge with RICO conspiracy charge

appropriate because declaration pertained to RICO conspiracy and its concealment and much of

the evidence applied to both charges); United States v. Bibby, 752 F.2d 1116, 1120 (6th Cir.

1985) (defendants charged with tax violations based on failure to report income from illegal


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activities properly joined with defendants charged with fraud because concealment of illicit

profits is “an integral part of assuring the success of the illegal activity”).

        Defendants also seek severance pursuant to Rule 14, which provides:

                If the joinder of offenses and defendants in an indictment, an
                information, or a consolidation for trial appears to prejudice a
                defendant or the government, the court may order separate trials of
                counts, sever the defendants' trials, or provide any other relief that
                justice requires.

Fed. R. Crim. P. 14. The United States Supreme Court has advised that “a district court should

grant a severance under Rule 14 only if there is a serious risk that a joint trial would compromise

a specific trial right of one of the defendants, or prevent the jury from making a reliable

judgment about guilt or innocence,” and that “less drastic measures, such as limiting instructions,

often will suffice to cure any risk of prejudice.” Zafiro v. United States, 506 U.S. 534, 539

(1993). The Sixth Circuit adheres to a “strong policy in favor of joint trials when charges will be

proved by the same series of acts.” United States v. Tocco, 200 F.3d 401, 414 n.5 (6th Cir. 2002),

cert. denied, 539 U.S. 926 (2003). “When a defendant seeks a severance, he has a heavy burden

of showing specific and compelling prejudice, and the denial of a motion to sever will be

overruled on appeal only for a clear abuse of discretion.” United States v. Harris, 9 F.3d 493,

500 (6th Cir. 1993).

        In support of their request for severance, Defendants generally argue that the large

number of defendants (all with similar Arab names), numerous counts, and their relatively

minimal participation in the scheme will confuse the jury. Defendants contend that the greater

amount of evidence against the other Defendants will “spillover” and prejudice them. These

arguments have been rejected by the Sixth Circuit. “A defendant is not entitled to severance


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simply because the proof is greater against a co-defendant.” Id. Further, a “jury will be

presumed capable of sorting out the evidence applicable to each defendant and rendering its

verdict accordingly.” United States v. Elder, 90 F.3d 1110, 1120 (6th Cir.), cert. denied, 519 U.S.

1016 (1996) (denial of severance affirmed with respect to four-week trial involving thirteen

defendants and 100 witnesses). See also Tocco, 200 F.3d at 413 (rejecting “spillover” argument

and affirming this court’s denial of severance).

        The court concludes that Defendants have not shown that a joint trial would compromise

a specific trial right of one of the defendants, or prevent the jury from making a reliable

judgment about guilt or innocence. Accordingly, the court will deny Defendants’ motions for

separate trials.

        The government has proposed to try Defendants in three groups. The first group consists

of D-1, Ali Abdul Karim Farhat; D-3, Hassan Abdul Karim Farhat; D-4, Akram Abdul Karim

Berro; D-5, Jamal Saadallah Berro; D-13, Amira Ali Farhat; and D-14, Abdul Karim Akram

Berro. The second group consists of D-2, Abdulamir Berro; D-7, Abdul Halim Berro; D-15,

Houda Mohamad Berro; D-18, Nassib Saadallah Berro; and D-19, Salwa Nassib Berro. The

third group consists of D-8, Bilal El-Sablani; D-9, Noura Berro; D-10, Sami Ahmad Berro; D-

11, Zeinab Berro; D-12, Sadek Berro; D-16, Lina Reda; and D-17, Almire Ali-Sadek Berro.

        The court accepts the government’s proposed trial groups and will schedule this matter

for trial accordingly.

        IT IS HEREBY ORDERED that D-13, Amira Ali Farhat’s motion to sever [docket #380]

is DENIED.

        IT IS FURTHER ORDERED that D-17, Almire Ali-Sadek Berro’s motion to sever


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[docket # 368] is DENIED.

       IT IS FURTHER ORDERED that D-15, Houda Mohamad Berro’s motion for separate

trial [docket # 372] is DENIED.

       IT IS FURTHER ORDERED that D-7, Abdul Halim Berro’s motion to sever [docket

#367] is DENIED.

       IT IS FURTHER ORDERED that D-16, Lina Reda’s motion to sever [docket # 382] is

DENIED.

       IT IS FURTHER ORDERED that D-18, Nassib Saadallah Berro’s motion for severance

[docket # 422] is DENIED.



                            s/John Corbett O’Meara
                            John Corbett O’Meara
                            United States District Judge


Dated: April 25, 2006




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